
84 So.3d 312 (2012)
Eric EDENFIELD, Petitioner,
v.
STATE of Florida, Respondent.
No. SC10-2146.
Supreme Court of Florida.
March 15, 2012.
Susan Z. Cohen and David M. Robbins of Epstein and Robbins, Jacksonville, FL, for Petitioner.
Pamela Jo Bondi, Attorney General, Trisha Meggs Pate, Bureau Chief, Joshua Ryan Heller, and Thomas D. Winokur, Assistant Attorneys General, Tallahassee, FL, for Respondent.
Sonya Rudenstine, Gainesville, FL, Michael Robert Ufferman, Tallahassee, FL, and David Oscar Markus, Miami, FL, on behalf of the Florida Association of Criminal Defense Lawyers, the National Association of Criminal Defense Lawyers, and the American Civil Liberties Union of Florida, as Amicus Curiae.
PER CURIAM.
We initially accepted jurisdiction to review the decision of the First District Court of Appeal in Edenfield v. State, 45 So.3d 26 (Fla. 1st DCA 2010), based on express and direct conflict. See art. V, § 3(b)(3), Fla. Const. Upon further consideration, we have determined that jurisdiction was improvidently granted. Accordingly, we hereby discharge jurisdiction and dismiss this review proceeding.
It is so ordered.
CANADY, C.J., and PARIENTE, LEWIS, QUINCE, POLSTON, LABARGA, and PERRY, JJ., concur.
